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EXHIBIT A

(Settlement Agreement)

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SETTLEMENT AGREEMENT AND MUTUAL RELEASE OF CLAIMS

The Settlement Agreement and Mutua! Release of Claims (‘Settlement Agreement’) is
made as of the 4 day of February, 2008, by and between the Debtors (as defined below),
Positive Software Solutions, Inc. (“Positive Software”) and Edward Mandel (“Mandel”). The
Debtors, Positive Software and Mandel are each individually referred to as a “Party” and
collectively referred to as the “Parties” to the Settlement Agreement. The Debtors are
collectively referred to as the “Defendant Parties”; Positive Software and Mandel are collectively
referred to as the “Plaintiff Parties.”

RECITALS

WHEREAS Positive Software has filed the action styled Positive Software Solutions, Inc.
v. New Century Mortgage, Inc., Civil Action No. 3:03-CV-0257-N (the “2003 Lawsuit”) pending
before United States District Court for the Northern District of Texas (the “Texas District
Court”), in which Positive Software sought to (1) enforce federal copyrights to software against
certain accused infringers thereof, including one or more of the Debtors; (2) recover damages for
breach of a Software Subscription Agreement (“SSA”) by New Century Mortgage Corporation;
(3) recover damages for violations of the Digital Millennium Copyright Act (“DMCA”); (4) seek
injunctive relief, including the return of all software owned or subject to the rights of Positive
Software created by operation of law or the SSA’s terms; and (5) seek damages for other claims
identified in the 2003 Lawsuit;

WHEREAS the claims for damages asserted by Positive Software against the defendants
to the 2003 Lawsuit and related counterclaims asserted by certain of the Defendant Parties were
referred to an arbitration styled Jn the Matter of the Arbitration Between New Century Mortgage
Corporation, et. al. v. Positive Software Solutions, Inc., No. 71 117 00181 03 (the “Arbitration”);

WHEREAS in the Arbitration, an award was entered in favor of the Defendant Parties as
to Positive Software’s claims and holding in favor of one or more of the Debtors on their
affirmative claims for fraud and attorneys’ fees and costs (the “Award”);

WHEREAS, on motion of Positive Software requesting that the Award be vacated, the
Texas District Court entered an order vacating the Award (the “Vacatur Order”);

WHEREAS the Vacatur Order was subsequently reversed by the United States Appellate
Court for the Fifth Federal Circuit and the matter remanded to the Texas District Court for
further proceedings;

WHEREAS the 2003 Lawsuit is again pending in the Texas District Court awaiting a
ruling on Positive Software’s pending motion to vacate the Award (as such motion may be
amended by further motion of Positive Software) and the Debtors’ motion to confirm the Award;

WHEREAS on April 2, 2007 (the “Petition Date”), substantially all of the Debtors
(including all of those Debtors that are Defendant Parties) filed their respective voluntary
petitions for relief under Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”),

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each Debtor thereby initiating a bankruptcy case before the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”) which bankruptcy cases are currently being
jointly administered under the bankruptcy cases captioned and styled as Jn re New Century TRS
Holdings, Inc. Case No. 07-10416 (KIC) (the “Bankrupicy Cases).'

WHEREAS the Debtors have and continue to act as Debtors-in-possession under Section
1107 of the Bankruptcy Code.

WHEREAS Positive Software timely filed a proof of claim asserting a general unsecured
claim in the amount of $580,000,000 against each the following Debtors: (3) New Century
Financial Corporation (“NCFC”); (11) New Century Mortgage Corporation (““NCMC”); (iti)
Homel23 Corp. (“Home123”) and (iv) New Century TRS Holdings, Inc. (“NC-TRS”).

WHEREAS, Positive Software and Mandel have filed a suit styled Positive Software
Solutions, Inc. and Edward Mandel v. Susman Godfrey, L.L.P., Ophelia F. Camina, Barry C.
Barnett, Frank Nese, Jeff Lemieux and John Norment, Civil Action No, 3:07- CV-1422-N (the
“2007 Lawsuit”) in which Positive Software and Mandel seek damages from Nese, Lemieux,
Norment and others for their participation in an alleged conspiracy to defraud Positive Software
by offering false testimony, suppressing material evidence and maliciously and falsely
prosecuting claims against Positive Software in the 2003 Litigation and the Arbitration;

WHEREAS, on February 2, 2008, the Debtors jointly with the Official Committee of
Unsecured Creditors, filed their Disclosure Statement for the Joint Chapter 11 Plan of
Liguidation of the Debtors and the Official Committee of Unsecured Creditors Dated as of
February 2, 2008 (D.1. 4804] (the “Disclosure Statement”) and their Joint Chapter 11 Plan of
Liquidation of the Debtors and the Official Committee of Unsecured Creditors Dated as of
February 2, 2008 [D.1. 4805] (the “Plan’).

WHEREAS, the Plaintiff Parties and the Defendant Parties desire to amicably resolve all
controversies between them, including those relating to the 2003 Lawsuit, the Arbitration and the
2007 Lawsuit, through settlement; and

WHEREAS, nothing in this Settlement Agreement shall be construed as an admission of
wrongdoing, fault or liability of any Party, nor an agreement that the Claims allowed herein
would, if litigated, be allowed in such amounts.

WHEREAS, the Parties understand, confirm and agree that nothing in this Settlement
Agreement shall be construed to limit, compromise, resolve or otherwise affect any claims that
the Plaintiff Parties may possess against Susman Godfrey (as defined below) whether those
claims seek damages in the 2007 Lawsuit or sanctions in or from the 2003 Lawsuit, the
Arbitration or otherwise, but shall compromise, resolve and release all claims, whether known or
unknown, asserted or unasserted, against the Debtor Reieased Parties including, without
limitation, for aiding and abetting, conspiracy, or any other primary or secondary liability in

' New Century Warehouse Corporation filed its petition for relief under Chapter 11 on August 3, 2007.

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connection with the claims set forth in the 2007 Lawsuit, as set forth in more detail in Section 2.1
below.

NOW THEREFORE, with reference to the foregoing and in consideration of the recitals,
promises, mutual covenants, and agreements set forth herein, the Parties agree as follows:

SECTION I: DEFINITIONS

1.1 “Debtors” shall mean the Debtors and Debtors in Possession in the Bankruptcy
Cases and consisting of the following entities: New Century Financial Corporation (i/k/a New
Century REIT, Inc.), a Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New
Century Financial Corporation), a Delaware corporation; New Century Mortgage Corporation
(f/k/a JBE Mortgage) (d/b/a NCMC Mortgage Corporate, New Century Corporation, New
Century Mortgage Ventures, LLC), a California corporation; Capital Corporation, a California
corporation; Homel23 Corporation (f/k/a The Anyloan Corporation, 1800anyloan.com,
Anyloan.com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding
Incorporated), a California corporation; NC Asset Holding, L.P. (f/k/a NC Residual
Corporation), a Delaware limited partnership; NC Residual II] Corporation, a Delaware
corporation; NC Residual IV Corporation, a Delaware corporation; New Century R.E.O. Corp., a
California corporation; New Century R.E.O. Ti Corp., a California corporation; New Century
R.E.O. Il] Corp., a California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit
Resort Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage
Services, Ad Astra Mortgage, Midwest Home Mortgage, TRATS Financial Services, Elite
Financial Services, Buyers Advantage Mortgage), a Delaware limited liability company, NC
Deltex, LLC, a Delaware limited liability company; NCoral, L.P., a Delaware limited
partnership; New Century Warehouse Corporation, a California corporation, as well as their
officers, directors, agents and employees and any and all of their non-debtor subsidiaries. This
definition specifically excludes Susman Godfrey (as defined below).

1.2 “Susman Godfrey” shall mean Susman Godfrey, L.L-P., Ophelia F. Camina,
Barry C. Barnett, Terrell Oxford, and all employees, partners, agents, employees and
representatives of Susman Godfrey, L.L.P.

1.3 “Released Claims” shall mean all claims, rights, causes of action, or damages,
whether known or unknown, asserted or unasserted, contingent or liquidated, that were brought
or could have been brought in the 2003 Litigation (including, e.g., any matters asserted in any
iteration of the motion to vacate the arbitration award or the motion for leave to amend the
motion to vacate the arbitration award), the Arbitration, the 2007 Litigation or the Bankruptcy
Cases (including but not limited to claims concerning the negotiation of a settlement, the
mediation, the value of the claims in section 4.4 hereof or any other subject addressed in or
related to Section 6.9 hereof) by any Party thereto, including, but not limited to, claims for
copyright infringement, patent infringement, trademark infringement, breach of contract, fraud,
negligent misrepresentation, civil conspiracy, violations of any federal or state code, law,
regulation or statute, slander, defamation, libel, tortious interference (of any kind or nature),
abuse of process, malicious prosecution, theft of trade secrets, conversion, misrepresentation,

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slander of title, violations of any rule or procedure, and any other act, omission, statement or
course of conduct that caused any damage, detriment or harm to any Party.

1.4 “Excluded Claims” shall mean only claims against the Excluded Parties as
defined in Section 1.13 that could be asserted in the 2007 Lawsuit, the 2003 Lawsuit, the
resumption of the Arbitration, or in any other forum, including damages and the assessment of
monetary sanctions.

1.5 The “Waiver” shall mean the Waiver of Privileges, Exemptions and Objections to
Discovery attached hereto as Exhibit A and executed contemporaneously herewith and
incorporated by reference as though fully set forth.

1.6 The “NCFC Claim” shall mean the proof of claim filed by Positive Software in
the bankruptcy case in which NCFC is the Debtor and referenced in the claims register being
maintained in that bankruptcy case as Claim No, 2524.

1.7. The “NCMC Claim” shall mean the proof of claim filed by Positive Software in
ihe bankruptcy case in which NCMC is the Debtor and referenced in the claims register being
maintained in that bankruptcy case as Claim No. 2525.

1.8 The “Home!23 Claim” shall mean the proof of claim filed by Positive Software
in the bankruptcy case in which Home123 is the Debtor and referenced in the claims register
being maintained in that bankruptcy case as Claim No. 2483.

19 The “NC-TRS Claim” shall mean the proof of claim filed by Positive Software in
the bankruptcy case in which NC-TRS is the Debtor and referenced in the claims register being
maintained in that bankruptcy case as Claim No. 2523.

1.10 The “Claims” shall mean collectively the NCFC Claim, the NCMC Claim, the
Homei23 Claim and the NC-TRS Claim.

1.11 The “Approval Order” shall mean an order entered by the Bankruptcy Court
unconditionally approving the terms of the Settlement Agreement and authorizing the Debtors to
enter into such agreement and fulfill their obligations thereunder.

1.12 The “Effective Date” shall mean the first date that the Approval Order becomes
by passage of time no longer subject to review, reconsideration or appeal.

1.13 “Excluded Parties” shall mean “Susman Godfrey” as defined in Section 1.2 as
well as Frank Nese, Jeff Lemieux and John Norment.

SECTION Il: MUTUAL RELEASE
2.1 In consideration of the payment and other consideration set forth in Section IV,

the Plaintiff Parties hereby release the Defendant Parties and their successors, assigns,
subsidiaries, divisions, predecessors, present and former employees, present and former

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- employees of Alix Partners, present and former attorneys (including in house attorneys), expert
witnesses, agents and all others in privity with them other than the Excluded Parties, as well as
the Official Committee of Unsecured Creditors and its members, attorneys and agents and the
successor of any such entity, including a post-Plan confirmation liquidating trust, corporation,
partnership of limited liability company (the “Debtor Released Parties”) for any acts, omissions,
statements or conduct that is related in any way to the Released Claims. Susman Godfrey and the
Excluded Claims are not subject to the release described in this paragraph.

22 The Defendant Parties hereby release Positive Software and Mandel and their
successors, assigns, subsidiaries, divisions, predecessors, attorneys, agents and all others in
privity with them (the “Positive Released Parties”) for any acts, omissions, statements or conduct
that is related in any way to the Released Claims.

23 It is the intent of the Parties and this Agreement to give, in exchange for the
promises and consideration promised herein, the broadest release and discharge possible under
the law with respect to the disputes and claims between the Parties, but not to release any claims
and disputes (including the Excluded Claims) that Positive Software and Mandel have or may
assert against or with Susman Godfrey.

SECTION Ill: COVENANT NOT TO SUE

3.1 The Positive Released Parties agree to forever refrain from taking any legal or
administrative action against the Debtor Released Parties based upon the Released Claims in any
forum including the Bankruptcy Cases and in no event shall the Positive Released Parties object
to the Plan or any modification of the Plan on any grounds, or any different plan of
reorganization in which their status and treatment is co-equal with the status of similarly situated
unsecured creditors with allowed claims of the same class of claims. However, nothing in this
paragraph shall restrict Positive Software’s rights to enforce this agreement in the Bankruptcy
Court.

SECTION IV: PAYMENT AND CONSIDERATION

41 As consideration for the releases, agreements and covenants made herein, the
Debtors shall pay to Positive Software a one-time cash payment of two million dollars
($2,000,000) (the “Payment”). The Payment shall be made on or before five (5) business days
immediately following the Effective Date, as defined in Section 1.12 hereof. If the making of
the Payment is delayed beyond March 18, 2008, the amount of the Payment is to be placed in an
interest bearing account with the interest being retained for payment to Positive Software in
addition to the deposited principle. The one-time Payment under Section 4.1 shall made to
Positive Software by remitting payment to the client trust account of Shore Chan Bragalone LLP,
and shall be paid in United States Dollars by wire transfer of immediately available funds to the
following account or as otherwise instructed in writing:

Account Name: Shore Chan Bragalone LLP IOLTA Client Trust Account
Account Beneficiary: Positive Software Solutions
Account Number: 8091060004

Bank ABA Routing Number: 111014325

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Bank Name: Bank of Texas
Bank Address: 7600 West Northwest Highway
Dallas, Texas 75225

United States of America
Bank Telephone Number: + 1-214-706-0300

42 As additional material consideration for the releases, agreements and covenants
made herein, the Defendant Parties shall execute the Waiver within two (2) business days of the
earlier to occur of (a) the Effective Date and (b) the effective date of the Plan.

43 As additional material consideration for the releases, agreements and covenants
made herein, the Debtor Released Parties also agree, at the expense of Positive Software, to
make their computer storage facilities available for searching, review and copying/imaging. This
access solely shall be through a third party vendor on the terms set forth in the Waiver and
subject to protective orders issued from the Texas District Court sufficient in the opinion of the
Court to protect the Debtor Released Parties from any liability to third parties for the disclosure
of confidential or proprietary information.

4.4 As additional material consideration for the releases, agreements and covenants
made herein, (i) the NCFC Claim shall be an “Allowed HC3b Claim”, as that class of claims is
defined under the Plan, in the amount of FIFTEEN MILLION DOLLARS ($15,000,000.00); (11)
the NCMC Claim shall be “Allowed OP3c Claim”, as that class of claims is defined under the
Plan, in the amount of FIFTEEN MILLION DOLLARS ($15,000,000.00), and (iii) the Home123
Claim and the NC-TRS Claim shall be disallowed.

4.5 As additional material consideration in support of this Settlement Agreement, the
Parties agree to move the Texas District Court within five days of the Effective Date, seeking an
Order dismissing with prejudice the Released Claims in the 2003 Lawsuit as set forth herein, in
the form attached hereto as Exhibit B and incorporated by reference as if fully set forth herein.

4.6 Notwithstanding anything else in this Settlement Agreement, the Parties agree
that any consideration to be received by Positive Software from the Defendant Parties is
independent of any additional recoveries that the Plaintiff Parties may obtain against any other
person who is not a Debtor Released Party, including Susman Godfrey, and the Debtors shall not
be entitled to any credit or reimbursement for the money paid in Section 4.1 hereof or the
distribution made in Section 4.4 hereof should the Plaintiff Parties obtain recoveries against any
non-Debtor Released Party.

4.7 As additional material consideration in support of this Settlement Agreement, the
Debtors shall obtain as part of or by separate order issued concurrently with the Approval Order
an order of the Bankruptcy Court withdrawing the portion of the Bankruptcy Court’s Order (2)
Denying the Motion of Positive Software Solutions, Inc., for Relief from the Stay Regarding
Copyright Infringement Litigation and (II) Granting the Debtors’ Cross-Motion for Sanctions for
Violation of the Automatic Stay [D.1. 2265] (the “Automatic Stay Order”) finding that Positive
Software had violated the automatic stay arising under section 362(a) of the Bankruptcy Code

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and ordering that Positive Software be sanctioned for such violation.’ The Debtors and Positive
Software shall take all action necessary to have the United States District Court for the District of
Delaware in Civil Action No. 07-559 (the “Stay Appeal”) suspend or extend current briefing
schedules in that proceeding to permit the parties to consummate this Settlement Agreement and
to remand the Stay Appeal to the Bankruptcy Court for further proceedings consistent with this
Settlement Agreement. Upon the occurrence of the Effective Date, Positive Software shall take
all action necessary to have the Stay Appeal dismissed.

4.8 As additional material consideration in support of this Settlement Agreement, the
Debtors and Positive Software shall withdraw (if appropriate) or jointly move or notice the
dismissal of the following matters and proceedings:

a. The Debtors’ Motion for Additional Sanctions filed on August 24, 2007
[D.I. 2566] and the related Debtors' Supplement to Motion For Additional Sanctions
Against Positive Software Solutions, Inc. for Further Violation of the Automatic Stay
filed on October 9, 2007 [D.1. 3252];

b. The adversary proceeding initiated by the Debtors against the Plaintiff
Parties in the Bankruptcy Court on October 9, 2007, referenced as Case No. 07-51724;

c. The Plaintiff Parties’ Motion for Relief from Stay filed on October 18,
2007 [D.1. 3320]; and

d. The Plaintiff Parties’ Motion for Relief from Stay filed on January 9, 2008
[D.I. 4354].

49 If Susman Godfrey cross claims against any Debtor in the 2007 Litigation or
otherwise seeks to make any Debtor a party to the 2007 Litigation, Positive Software (a) agrees
that it shall recover nothing from the Debtors in the 2007 Litigation and (b) shall cooperate with
and join in the Debtors’ motion to dismiss.

SECTION V. REPRESENTATIONS AND WARRANTIES

5.1 The Defendant Parties represent and warrant that they have the authority to enter
into this Settlement Agreement and that they do so based solely on the advice of their counsel
after a full review and investigation of the facts; provided, however, that the Plaintiff Parties
understand that the Debtors’ authority to enter into this Settlement Agreement is subject to
Bankruptcy Court approval.

5.2 The Plaintiff Parties represent and warrant that they have the authority to enter
into this Settlement Agreement and that they do so based solely on the advice of their counsel
after a full review and investigation of the facts.

* Unless otherwise indicated, citations to “D1” shall refer to the docket maintained in the Bankruptcy Cases

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5.3. The Debtors warrant that with the releases being granted by the Plaintiff Parties to
the Debtor Released Parties as set forth in Section 2.1, above, and the Plaintiff Parties’ covenants
set forth in Section 3.1, above and the other terms, covenants and consideration being made and
given by the Plaintiff Parties do fully and completely cure any alleged damages for violation of
the automatic stay by the Positive Released Parties with respect to the Debtors and any of their
successors in connection with further prosecution of claims against persons and entities who are
not Defendant Parties in the 2003 Litigation and the 2007 Litigation.

SECTION VI: MISCELLANEOUS

6.1 The Debtors shall without delay file a motion in the Bankruptcy Case for the
approval of this Settlement Agreement in accordance with Rule 9019 of the Federal Rules of
Bankruptcy Procedure (the “9019 Motion”). The Debtors will also file a motion requesting that
the 9019 Motion be heard on an expedited basis at the omnibus hearing date scheduled on March
5, 2008 in the Bankruptcy Case, but in no event shall any order of the Court denying such
request for expedited treatment effect in any way this Settlement Agreement. If and only if the
Debtors fail to file the 9019 Motion in time to be heard by or before March 25, 2008, Positive
Software may elect to rescind and terminate this Settlement Agreement by written notice made to
the Debtors and the Committee by no later than the later of (a) February 20, 2008, or (b) the date
that notice of hearing is served, and, if Positive Software makes such election, no Party shall be
obligated to otherwise fulfill any obligations under the terms of this Settlement Agreement.

6.2 The Settlement Agreement and all rights, obligations, and releases contained
herein may not be assigned by any Party without the express written consent of the other Parties,
and such consent shall not be unreasonably withheld; provided, however, that the Settlement
Agreement and all of its terms shall automatically mure to the benefit of any post-Plan
confirmation liquidating trust, corporation, limited liability company or partnership created or
contemplated by the Plan.

6.3 The Settlement Agreement is limited to the Parties; provided, however, that the
Settlement Agreement and all of its terms shall automatically inure to the benefit of any post-
Plan confirmation liquidating trust, corporation, limited liability company or partnership created
or contemplated by the Plan. The Settlement Agreement does not inure to the benefit of any
party not identified herein and specifically does not in any way benefit Susman Godfrey or in
any way affect the ability of the Positive Released Parties to fully prosecute to conclusion the
Excluded Claims against the Excluded Parties.

6.4 This Settlement Agreement is to be construed under the laws of the State of
Delaware, without giving effect to Delaware’s choice of law rules. Exclusive jurisdiction and
venue regarding any dispute arising from this Settlement Agreement between the Parties shall be
located in the Delaware Bankruptcy Court. No Party shall seek to withdraw the automatic
reference or challenge jurisdiction in such a dispute, but if the Delaware Bankruptcy Court, on its
own motion, determines not to exercise jurisdiction, the exclusive jurisdiction and venue shall lie
in the Delaware District Court.

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6.5 Any and all communications or notices required or permitted under the Settlement
Agreement shall be in writing, shall identify the Setthement Agreement, and shall be hand
delivered or sent by registered mail or express delivery to the last known address of the Party,
which are as follows:

6.5.1 All communications and notices to the Plaintiff Parties shall be addressed
to Michael W. Shore c/o Shore Chan Bragalone, L.L.P., 350 North St. Paul Street, Suite
4450, Dallas, Texas 75201

6.5.2 All communications and notices to the Debtors shall be addressed to
Russell C. Silberglied, Richards, Layton & Finger, P.A., P.O. Box 551, Wilmington,
Delaware 19801 and copied to Suzzanne Uhland, O'Melveny & Myers LLP,
Embarcadero Center West, 275 Battery Street, San Francisco, California 94111-3305 and
Monika McCarthy, New Century, 3121 Michelson Drive, 6th Floor, Irvine, California
92612.

6.5.3 All communications and notices to the Creditors Committee shall be
addressed to Mark Indelicato, Hahn & Hessen LLP, 488 Madison Avenue, 14th FL, New
York, New York 10022, and copied to Bonnie Fatell, Blank Rome LLP, Chase
Manhatten Centre, Suite 800, 1201 North Market Street, Wilmington, Delaware 19801-
4226.

6.6 Except as otherwise specifically provided for herein, a Party shall have thirty (30)
calendar days after the receipt of written notice of any breach or violation of the Settlement
Agreement from the other Party to cure such breach or violation. If such Party satisfactorily
cures such breach or violation within such thirty (30) calendar day period, such breach or
violation shall not give rise to any rights or remedies under the Settlement Agreement. Before
making any claim under the Settlement Agreement, the Parties through corporate representatives
at the General Counsel level or higher, shall attempt in good faith to negotiate a resolution to the
claimed breach.

6.7 The Settlement Agreement, including any attachments or exhibits hereto, sets
forth the entire understanding between the Parties relating to the subject matter contained herein
and, supersedes all previous oral or written proposals, negotiations, representations, or
understandings concerning the subject matter. The Settlement Agreement may not be modified,
amended or discharged except by a subsequent written agreement signed by the authorized
representatives of the Parties hereto. Each Party expressly disclaims any right to enforce or
claim the effectiveness of any oral modification of the Settlement Agreement based upon a
course of dealing, waiver, reliance, estoppel or other similar theory of law,

6.8 The Parties hereby explicitly acknowledge that they are entering into the
Settlement Agreement entirely of their own free will, uninfluenced by any duress, economic
coercion or other factors that might have the effect of negating the free will with which they each
enter into the Settlement Agreement. The Parties and their respective legal counsel have
reviewed the Settlement Agreement, and the rule of construction to the effect that any

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ambiguities are to be resolved against the drafting Party shall not be employed in the
interpretation of the Settlement Agreement.

6.9 The Plaintiff Parties acknowledge that the distributions on account of the claims
set forth in paragraph 4.4 hereof is inherently uncertain and the Debtors and Creditors
Committee are not making any warranties with respect to such distribution levels or success of
the Plan. Accordingly, PSSI releases and covenants not to file or cause to be filed any claims,
rights, causes of action or contentions that (a) the distributions are insufficient; (b) any Debtor
Released Party misled any Plaintiff Party concerning or in any way related to the Distributions,
or (c) any Plaintiff Party relied in any way on any statement of a Debtor Released Party or of
David Stratton, Esq. concerning the Distributions. This Section 6.9 is a material part of the
release set forth in Section 2.1 hereof.

6.10 The Settlement Agreement may be executed in several counterparts, each of
which shall be deemed an original and all of which taken together shall constitute a single
instrument.

6.11 No breach of any provision of the Settlement Agreement can be waived by any of
the Parties unless in writing. Any breach by a Party shall not be deemed to be a waiver of any
breach of the same or any other provision thereof by that Party or any other Party.

6.12 If any provision of the Settlement Agreement, or the application thereof, shall for
any reason and to any extent be void, invalid or unenforceable, the remainder of the Settlement
Agreement and the application of such provision to other provisions or circumstances shall be
interpreted so as best to reasonably effectuate the intent of the Parties. The Parties further agree
to replace such void, invalid or unenforceable provision of the Settlement Agreement with a
valid and enforceable provision that will achieve to the extent possible the economic, business,
and other purpose of the void, invalid, or unenforceable provision.

6.13 In any dispute, litigation or contested matter concerning whether this settlement
agreement has been breached or in which any party asserts this settlement agreement as a
defense, the losing party shall pay the prevailing party’s attorney’s fees and costs.

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Dated: Zz, 2008 Lo

Edward Mandel ~
Dated: fe. Eeimerig iF , 2008 The Debtors and Debtors in Possession
BWM, eltee Cling, BO
APPROVED:
Dated: , 2008 Official Unsecured Creditors Committee
By:
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WAIVER OF PRIVILEGES, EXEMPTIONS

AND OBJECTIONS TO DISCOVERY

This Waiver of Privileges, Exemptions and Objections to Discovery (“Waiver”) is hereby

entered into by, between and among the following PARTIES:

1,

The Debtors and Debtors in Possession in the jointly administered
bankruptcy cases being administered under the bankruptcy case captioned
and styled In re New Century TRS Holdings, inc., Case No. 07-10415 (the
“Bankruptcy Cases”), pending in the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”), and consisting of the
following entities: New Century Financial Corporation (f/k/a New
Century REIT, Inc.), a Maryland corporation; New Century TRS
Holdings, Inc. (f/k/a New Century Financial Corporation), a Delaware
corporation; New Century Mortgage Corporation (f/k/a JBE Mortgage)
(d/b/a NCMC Mortgage Corporate, New Century Corporation, New
Century Mortgage Ventures, LLC), a California corporation; Capital
Corporation, a California corporation; Home123 Corporation (f/k/a The
Anyloan Corporation, 1800anyloan.com, Anyloan.com), a California
corporation; New Century Credit Corporation (f/k/a Worth Funding
Incorporated), a California corporation; NC Asset Holding, L.P. (f/k/a NC
Residual II Corporation), a Delaware limited partnership; NC Residual Il
Corporation, a Delaware corporation; NC Residual [V Corporation, a
Delaware corporation; New Century R.E.O. Corp., a California
corporation; New Century R.E.O. I Corp., a California corporation; New

Century R.E.O. IH Corp., a California corporation; New Century

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Mortgage Ventures, LLC (d/b/a Summit Resort Lending, Total Mortgage
Resource, Select Mortgage Group, Monticello Mortgage Services, Ad
Astra Mortgage, Midwest Home Mortgage, TRATS Financial Services,
Elite Financial Services, Buyers Advantage Mortgage), a Delaware limited
liability company; NC Deltex, LLC, a Delaware limited liability
company; NCoral, L.P., a Delaware limited partnership; New Century
Warehouse Corporation, a California corporation, as well as their officers,
directors, agents and employees and any and all of their non-debtor
subsidiaries (collectively “Debtors”);

2. Positive Software Solutions, Inc. (“Positive Software’’); and

3. Edward Mandel (“Mandel”).

The Bankruptcy Court has, by written order entered in the Bankruptcy Case, approved
the material terms of a certain Settlement Agreement (the “Settlement Agreement”) in
accordance with Fed. R. Bankr. Pro. 9019.

In accordance with and as a material part of the Settlement Agreement executed
contemporaneously herewith and incorporated by reference for all purposes as though fully set
forth, the Debtors, for themselves and their successors and assigns, including (but not limited to)
any trustee appointed to manage the Debtors’ bankruptcy estates by the Bankruptcy Court or in
accordance with a bankruptcy plan confirmed under Chapter 11, title 11 of the Bankruptcy Code
(collectively the “Waiving Parties”) hereby unconditionally waive any and all privileges,
immunities or exemptions from discovery (and objections to discovery or disclosure) that may
exist or attach to documents, statements, information, file materials or work product created,

possessed or subject to the control of any attorney, paralegal, agent or representative of Susman

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Godfrey, L.L.P. (“Susman Godfrey”) or Susman Godfrey itself, related in any way to Susman
Godfrey’s representation of the Waiving Parties in or anticipation of litigation captioned and
styled Positive Software Solutions, Inc. v. New Century Mortgage, Inc., Civil Action No. 3:03-
CV-0257-N (the “2003 Lawsuit”) pending before United States District Court for the Northern
District of Texas (the “Texas District Court”), as well as the related arbitration proceeding styled
American Arbitration Association, Dallas, Texas, Jn the Matter of the Arbitration Between New
Century Mortgage Corporation, et. al. v. Positive Software Solutions, Inc., No. 71 117 00181 03,
as well as and any appellate proceedings and ancillary matters involvmg the 2003 Lawsuit
(collectively the “Litigation”)

This Waiver specifically and unconditionally waives the attorney/client privilege between
the Waiving Parties and Susman Godfrey, L.L.P., its lawyers, paralegals, staff, agents and
representatives, including, but not limited to, Barry C. Barnett, Ophelia F. Camifia, Terrell
Oxford and Kenneth Gardner.

This Waiver specifically and unconditionally waives the consulting expert exemption
from discovery for any and all experts retained or consulted in the Litigation or in anticipation of
the Litigation by Susman Godifey.

This Waiver specifically and unconditionally waives the attorney work-product
exemption from discovery for all work product created, in whole or in part, by Susman Godfrey

related in any way to the Litigation.

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ASSIGNMENT AND TRANSFER OF RIGHT TO POSSESS AND OWN

The Waiving Parties immediately assign, transfer and convey to Positive Software and
Mandel any and all rights of the Waiving Parties to possess, copy or view -- as well as the
ownership of -- copies of any and all material, documents and information held by or in the
possession, custody or control of Susman Godfrey related to the Litigation (collectively, the
“Litigation Materials”) and any and all rights, claims and defenses that the Debtors may have
with respect to the recovery of the Litigation Materials from Susman Godfrey. The Waiving
Parties agree not to withhold any assistance that may be reasonably requested by Positive

Software or Mandel in furtherance of the foregoing assignment, transfer and conveyance;

provided, however, that should the Debtors incur any reasonable expenses or attorneys fees in
such cooperation, PSSI shall bear all such reasonable expenses or attorneys fees.

This assignment and transfer right is limited to true and correct copies of all materials
covered by this Waiver, including electronic copies with metadata intact. The originals of all
materials subject to this Waiver shall remain the property of the Waiving Parties and kept in their
actual or constructive possession.

THIRD PARTY CUSTODIAN AND NOTICE TO AFFECTED PARTIES

Copies of the material in the Debtors’ possession which are subject to this Waiver shall
be produced by the Debtors to a custodian chosen by the Waiving Parties (“Custodian”). This
includes originals or copies (at the Debtors’ sole option) of the categories of material set forth on
Ex. A hereto, and thereafter, materials that PSS] may later designate on reasonable notice and
consistent with the remaining provisions herein. To the extent that the Custodian (a) makes
copies of or prints any documents for production in accordance with this Waiver Agreement and

incurs costs in doing so; (b) incurs fees or costs in searching the electronic information for

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production to Positive Software, (c) incurs costs associated with restoring anything contained on
backup tapes, or (d) incurs any other costs or fees, Positive Software, and not the Debtors, shall
be responsible to pay all of the costs of the Custodian. Notwithstanding that Positive Software is
paying the Custodian, the Custodian shall be deemed an agent of the Debtors such that the
Debtors’ production of the documents to the Custodian itself shall not constitute the documents
leaving the Debtors’ possession for purposes of maintaining the attorney-client privilege (but
expressly subject to the other terms of this Waiver Agreement that waive such privilege).

The Custodian shall immediately upon receipt of the documents and electronic
information search for and collect all documents concerning the subject matter of this Waiver
Agreement, and ready such documents for production to Positive Software, subject to the
remaining terms of this Waiver Agreement. Positive Software acknowledges that (a) the speed
of such production cannot be guaranteed by the Debtors and is a subject for Positive Software to
discuss with the Custodian, and (b) production of documents from backup tapes will take the
Custodian longer than production from other sources.

Prior to producing such documents to Positive Software, the Custodian shall provide five
(5) business days’ notice of that production to counsel for Nese and Lemieux and counsel to
Susman Godfrey, as well as any other third party designated by the Waiving Parties. This
process is expressly intended to allow any third parties put on notice of the production by the
Waiving Parties an opportunity to assert objections to the production of the materials subject to
this Waiver to Positive Software or Mandel, such objections being independent of the privileges,
objections and immunities waived by the Waiving Parties. If no such objections are made in a
court of competent jurisdiction within five (5) business days of the written notice to the third

parties, the Custodian is to release the materials subject to the Waiver to attorneys or agents

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designated by Positive Software or Mandel in writing. If an objection is made by a third party,
the Waiving Parties’ Custodian shall retain the material subject to the Waiver until a Court of
competent jurisdiction issues an order either compelling their production or sustaining the third
party’s objections (in whole or in part).

LIMITATION ON SCOPE OF WAIVER

This Waiver does not affect in any way any privileges, exemptions, immunities or
objections that may be asserted by the Waiving Parties with respect to the following:

1. Representation by Haynes & Boone, L.L.P. in the Litigation;

2. Representation by any law firm other than Susman Godfrey of the
Waiving Parties in the Litigation or the Bankruptcy Cases or related
adversary proceedings brought by the Debtors under Fed. R. Bankr. Pro.
7001; and

3. Representation by any law firm of any Waiving Party in any proceeding
other than the Litigation.

Accordingly, notwithstanding any other term in this Waiver Agreement, the Custodian
shall not produce to Positive Software any document covered by this Limitation on Scope of
Waiver absent a court order requiring such production.

Additionally, the Custodian shall not produce to Positive Software any document that in
any way can be construed as containing private or confidential customer information unless such
document is designated with an Attomeys’ Eyes Only legend under the Protective Order entered
by the Texas District Court. If any document nevertheless is disclosed by the Custodian that
included customer information, Positive Software agrees that it will treat it as designated
Attorneys’ Eyes Only information regardless of whether it is so designated.

NO WARRANTIES AS TO EFFECT OF THIS WAIVER

The Waiving Parties do not warrant that any waiver or transfer of rights created by this

document will be effective to defeat assertions of objections, privileges or immunities by any

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third parties. Positive Software and Edward Mandel understand that third parties may assert
objections and privileges to the disclosure of material sought pursuant to the rights created by
this Waiver. The Waiving Parties do, however, agree to cooperate with Positive Software’s and
Mandel’s reasonable requests in their efforts to procure materials from Susman Godfrey related

to the Litigation and subject to this Waiver; provided, however, that should the Debtors incur any

expenses or attorneys fees in such cooperation, PSSI shall bear all such expenses or attorneys

fees.

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AGREED:

Dated: Febcu at 9 , 2008

gre Solutions, Inc.

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Dated: Febiunce, \% 2008

Dated: Februn, cu \4 , 2008 The Debtors and Debtors in Possession
CVE
Milly ji tect Ein, CBE

APPROVED:

Dated: , 2008 Official Unsecured Creditors Committee
By:

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EXHIBIT A TO THE WAIVER TO BE FILED PRIOR TO HEARING
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EXHIBIT B

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

POSITIVE SOFTWARE SOLUTIONS,
INC.,

Plaintiff,
No, 303-CV-0257-N

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NEW CENTURY MORTGAGE §

CORPORATION, NEW CENTURY § JURY TRIAL DEMANDED

FINANCIAL CORPORATION, §

eCONDUIT CORPORATION, §

THE ANYLOAN COMPANY, §

JEFF LEMIEUX, AND FRANK NESE §
§
§

Defendants.

JOINT MOTION TO DISMISS WITH PREJUDICE

Positive Software Solutions, Inc., New Century Mortgage Corporation, New Century
Financial Corporation, eConduit Corporation, and The AnyLoan Company (collectively
“Moving Parties”) file this Joint Motion to Dismiss With Prejudice. The Moving Parties have
reached a Settlement Agreement, and pursuant to said Settlement Agreement, the Moving Parties
ask the Court to enter an Order dismissing all claims asserted by the Plaintiff against New
Century Mortgage Corporation, New Century Financial Corporation, eConduit Corporation, and
The AnyLoan Company, with prejudice and dismissing all counterclaims asserted by New
Century Mortgage Corporation, New Century Financial Corporation, eConduit Corporation, and
The AnyLoan Company against the Plaintiffs, with prejudice. Positive Software Solutions, Inc.
asks the Court to allow the case to remain an open matter in order to allow a Motion for

Sanctions to be filed against Susman Godfrey, L.L.P. and partners thereof.

JOINT MOTION TO DISMISS WITH PREJUDICE — Page |
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Respectfully submitted,

Michael W. Shore

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Corporation, New Century Financial Corporation,
eConduit Corporation, and The AnyLoan
Company

JOINT MOTION TO DISMISS WITH PREJUDICE ~ Page 2
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

POSITIVE SOFTWARE SOLUTIONS,
INC.,

Plaintiff,
No. 303-CV-0257-N

CORPORATION, NEW CENTURY JURY TRIAL DEMANDED

FINANCIAL CORPORATION,
eCONDUIT CORPORATION,

THE ANYLOAN COMPANY,

JEFF LEMIEUX, AND FRANK NESE

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NEW CENTURY MORTGAGE §
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Defendants. §
ORDER
After considering the Joint Motion to Dismiss with Prejudice filed by Positive Software
Solutions, Inc., New Century Mortgage Corporation, New Century Financial Corporation,
eConduit Corporation, and The AnyLoan Company, the Court recognizes that the parties above
have reached a settlement. Accordingly, the Court
DISMISSES WITH PREJUDICE all claims by the Plaintiff against New Century
Mortgage Corporation, New Century Financial Corporation, eConduit Corporation, and The
AnyLoan Company. The Court further
DISMISSES WITH PREJUDICE all counterclaims asserted by Frank New Century

Mortgage Corporation, New Century Financial Corporation, eConduit Corporation, and The

AnyLoan Company against Plaintiff.

ORDER GRANTING MOTION TO DISMISS ~ Page ]
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The case will remain an open matter while the Court considers any motions for sanctions
filed by Positive Software Solutions, Inc. against Susman Godfrey, L.L.P. and attorneys
associated with that firm.

Each party shall bear their own costs and attorneys’ fees, except as otherwise set forth in

their settlement agreement.

U.S. DISTRICT COURT

ORDER GRANTING MOTION TO DISMISS ~ Page 2
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